Case 3:18-cv-01059-NJR Document 173 Filed 03/23/21 Page 1 of 3 Page ID #948




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS


 MARION DIAGNOSTIC CENTER, LLC
 and MARION HEALTHCARE, LLC,
 individually and on behalf of all others
 similarly situated,

                            Plaintiffs,           No. 18 Civ. 1059
                v.
                                                  Hon. Nancy J. Rosenstengel
 BECTON, DICKINSON & CO.,
 CARDINAL HEALTH, INC., and                       NOTICE OF APPEAL
 MCKESSON MEDICAL-SURGICAL
 INC.,

                            Defendants.


       PLEASE TAKE NOTICE that Plaintiffs Marion Diagnostic Center, LLC and Marion

Healthcare, LLC, individually and on behalf of all others similarly situated, hereby appeal to the

United States Court of Appeals for the Seventh Circuit from the Judgment entered March 15, 2021,

and from all prior orders and rulings merged therein.
Case 3:18-cv-01059-NJR Document 173 Filed 03/23/21 Page 2 of 3 Page ID #949




Dated:   March 23, 2021                           Respectfully submitted,
         Chicago, Illinois

                                                  /s/ Steven F. Molo
 R. Stephen Berry                                 Steven F. Molo
 Berry Law PLLC                                   Counsel of Record
 1717 Pennsylvania Avenue, N.W., Suite 850        Allison M. Gorsuch
 Washington, D.C. 20006                           MoloLamken LLP
 Telephone: (202) 296-3020                        300 North LaSalle Street, Suite 5350
 Facsimile: (202) 296-3038                        Chicago, IL 60654
 sberry@berrylawpllc.com                          Telephone: (312) 450-6700
                                                  Facsimile: (312) 450-6701
 Kenneth E. Notter III                            smolo@mololamken.com
 MoloLamken LLP                                   agorsuch@mololamken.com
 The Watergate, Suite 500
 600 New Hampshire Avenue, N.W.                   Justin M. Ellis
 Washington, D.C. 20037                           MoloLamken LLP
 Telephone: (202) 556-2000                        430 Park Avenue
 Facsimile: (202) 556-2001                        New York, NY 10022
 knotter@mololamken.com                           Telephone: (212) 607-8160
                                                  Facsimile: (212) 607-8161
                                                  jellis@mololamken.com



                   Attorneys for Plaintiffs and Proposed Class Co-Counsel
Case 3:18-cv-01059-NJR Document 173 Filed 03/23/21 Page 3 of 3 Page ID #950




                               CERTIFICATE OF SERVICE

       I hereby certify that, on March 23, 2021, I caused the foregoing Notice of Appeal to be

served on all parties of record by filing the same with the Court’s CM/ECF system.


March 23, 2021
Chicago, Illinois


                                                           /s/ Steven F. Molo
                                                           Steven F. Molo
